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                    EXHIBIT 3
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:20-cr-00305-DDD

 UNITED STATES OF AMERICA,

          Plaintiff,

 v.

 1. MICHAEL AARON TEW, and
 2. KIMBERLY ANN TEW, a/k/a Kimberly Vertanen,

          Defendants.


           DECLARATION OF JULIE A. ROLAND PURSUANT TO 28 U.S.C.§ 1746


 1.      I am an employee of Atlantic Union Bank (“AUB”) and have personal knowledge of the
 facts in this Declaration. AUB is a Virginia-chartered bank that does not conduct business or
 maintain offices or facilities in the State of Colorado.

 2.      The team at AUB responsible for researching records for production in response to
 subpoenas duces tecum (the “Regulatory Processing-Subpoenas” team) consists of four
 individuals. Of those four individuals, two are supervisors with experience serving as witnesses
 for records-authentication purposes (among other numerous responsibilities).

 3.   All members of the Regulatory Processing-Subpoenas team work and reside in the
 Commonwealth of Virginia.

 4.     AUB receives, on average, more than 10 subpoenas per week, which are handled by the
 Regulatory Processing-Subpoenas team.

 5.      For one of the two supervisor witnesses to travel to Denver, Colorado for a court
 appearance in this matter would require that supervisor to be away from work for at least two full
 days, likely three, based on the length of time it takes to travel from Richmond, Virginia to Denver,
 Colorado.

 6.    Such an absence will cause significant burden to AUB’s Regulatory Processing-Subpoenas
 team.

        I verify under penalty of perjury that the foregoing is true and correct. Executed on January
 8, 2024.

                                                                   s/ Julie A. Roland




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